            Case 2:18-cv-05623-MMB Document 280 Filed 07/23/21 Page 1 of 4




                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


LONTEX CORPORATION                                             Civil Action No. 2:18-cv-05623-MMB

                       Plaintiff,                              Hon. Michael Baylson

         v.

NIKE, INC.,

                       Defendant.


    PLAINTIFF LONTEX CORPORATION’S RESPONSE TO NIKE, INC.’S BRIEF ON
                  USE OF “COOL COMPRESSION” AT TRIAL

         Plaintiff Lontex Corporation (“Sweat It Out”) hereby submits the following response to

Nike, Inc.’s (“Nike”) Brief on Use of “Cool Compression” at Trial (Dkt. 271).

         Nike’s Brief demonstrates that the parties have no meaningful disagreement that evidence

of usage of the words “cool” and “compression,” even when not next to each other, are relevant

and should be admitted at trial. Specifically, Nike asserts that, “evidence regarding Lontex’s or

NIKE’s clothing or advertisements, etc. should not be strictly limited to those items that use the

words ‘cool compression’ unseparated by other words.”1 Dkt. 271 at 1. Sweat It Out has

similarly requested that, “the Court allow the jury to consider evidence of Nike and its retailers

using the mark in a confusingly similar manner with abbreviations or separation between the

words Cool and Compression, such as ‘Cool 6” Compression’ or ‘CL COMP.’” (Dkt. 270 at 1.)

         Highlighting the similarity in these positions, the parties rely on some of the same

evidence to demonstrate why evidence of Cool separated from Compression is proper evidence


1
  Sweat It Out disagrees with many of the “facts” asserted in Nike’s Brief, including that Sweat It Out abandoned or
failed to use the COOL COMPRESSION mark. See Dkt. 271 at 1–5. However, Sweat It Out does not seek a
wholesale preclusion for Nike seeking to present its asserted evidence to the jury. Instead, as set forth below, Sweat
It Out believes this will be subject to FRE 403 balancing, in addition any other specific objections to evidence that
may apply, and can be raised in the context of the trial.




117601062
            Case 2:18-cv-05623-MMB Document 280 Filed 07/23/21 Page 2 of 4




for the jury to consider. Compare Dkt. 271 at 9–10 with Dkt. 270 at 2 (both citing Nike catalog

pages using (i) NIKE PRO COOL COMPRESSION SHORT-SLEEVE TOP, (ii) NIKE PRO

COOL 6” COMPRESSION SHORT, and (iii) NIKE PRO COOL FITTED SHORT-SLEEVE

TOP). The inferences to be drawn from such evidence are natural issues for the parties to

disagree on in a trademark case. Nonetheless, the parties’ uncharacteristically uniform positions

in support of presentation of such evidence at trial confirms that such uses readily overcome the

low bar of relevance for admission at trial.

        Nike’s emphasis that evidence of Cool separated from Compression is relevant to its fair

use defense, Dkt. 271 at 5–10, further demonstrates one of the important reasons that Sweat It

Out should be able to present to the jury the full context of Nike’s use of “cool” in product titles

followed – with or without a word break – by “compression.” Nike has stated that it intends,

with the Court’s permission, to present to the jury that “NIKE’s use of the words ‘cool’ and

‘compression’ was inconsistent” (Dkt. 271 at 6), and “NIKE used words like ‘cool’ to describe

its NIKE Pro apparel with sweat-wicking fabric and ventilation that keeps the wearer cool and

‘compression’ to describe apparel that fits tightly to the skin” (id. at 10). So too Sweat It Out

must be able to present important evidence providing the context of Nike’s usage of “Cool”

including separated by “Compression” to avoid an incomplete presentation and juror confusion.

See Marketquest v. BIC, 862 F.3d 927, 936 (9th Cir. 2017). It seems clear that the parties will

disagree with their respective views of the facts in this case and intend to use evidence of Cool

separated from Compression for differing reasons, but the relevance of presenting such evidence

to the jury should not be denied.

        To the extent the Court has concerns with trial management, the parties obviously have

an obligation to balance the presentation of evidence such that it will assist the jury in




                                                -2-
117601062
            Case 2:18-cv-05623-MMB Document 280 Filed 07/23/21 Page 3 of 4




adjudicating the issues in dispute in an efficient manner. As has been its intention, Sweat It Out

intends to carefully and proactively address this issue to ensure the jury receives a careful

balance of information that will assist in making the key decisions in this case. Further, if any

party spends an excessive amount of time on presenting evidence of Cool separated from

Compression, the Court can also address that issue in real-time during the presentation of

evidence. See Fed. R. Evid. 403.

         In view of the parties’ briefing on this issue, and the importance of providing the full

context of the evidence to the jury, Sweat It Out requests that it be allowed to present evidence to

the jury of Nike’s various uses of “cool” and “compression,” including abbreviations and

separations of those words.



Dated:          July 23, 2021                       TROUTMAN PEPPER HAMILTON
                                                    SANDERS LLP


                                                    By: /s/ Ben L. Wagner
                                                        Ben L. Wagner (CA SBN 243594)
                                                        ben.wagner@troutman.com
                                                        Admitted Pro Hac Vice
                                                        11682 El Camino Real, Suite 400
                                                        San Diego, CA 92130-2092
                                                        Telephone: 858.509.6000
                                                        Facsimile: 858.509.6040

                                                         Michael A. Schwartz (PA 60234)
                                                         TROUTMAN PEPPER HAMILTON
                                                         SANDERS LLP
                                                         3000 Two Logan Square
                                                         Eighteenth & Arch Streets
                                                         Philadelphia, PA 19103-2799


                                                         Attorneys for Plaintiff
                                                         LONTEX CORPORATION




                                                 -3-
117601062
            Case 2:18-cv-05623-MMB Document 280 Filed 07/23/21 Page 4 of 4




                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 23, 2021, a true and correct copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent via e-mail to all parties by operation of the court's electronic filing system or

by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic

Filing. Parties may access this filing through the Court's CM/ECF System.



                                                /s/ Ben L. Wagner
                                                Ben L. Wagner




                                                 -4-
117601062
